                      Case 1:23-mj-00207-SJB ECF No. 1, PageID.1 Filed 05/10/23 Page 1 of 1

                             UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                     CRIMINAL MINUTE SHEET
USA v.       Barry Stadler                                                              Mag. Judge: Sally J. Berens

    CASE NUMBER                       DATE               TIME (begin/end)              PLACE                    INTERPRETER


 1:23-mj-00207-SJB                   5/10/2023          11:10 AM - 11:32 AM          Grand Rapids


APPEARANCES:
Government:                                             Defendant:                                      Counsel Designation:
Adam Townshend                                          Appeared w/out counsel (court to appoint)*


          OFFENSE LEVEL                               CHARGING DOCUMENT/COUNTS                            CHARGING DOCUMENT
                                                                                                        Read
                                            Out-of-District Warrant WDOK M-23-277-STE                   Reading Waived

             TYPE OF HEARING                                     DOCUMENTS                               CHANGE OF PLEA

✔   First Appearance                                 Defendant's Rights                        Guilty Plea to Count(s)
    Arraignment:                                     Waiver of                                 of the
         mute              nolo contendre            Consent to Mag. Judge for
                           guilty                                                              Count(s) to be dismissed at sentencing:
         not guilty
                                                     Other:
    Initial Pretrial Conference
                                                                                               Presentence Report:
    Detention         (waived    )                                                                    Ordered      Waived
    Preliminary    (waived       )                Court to Issue:                                   Plea Accepted by the Court
✔   Rule 5 Proceeding                                Report & Recommendation
                                                                                                    No Written Plea Agreement
    Revocation/SRV/PV                                Order of Detention
                                                     Order to file IPTC Statements
    Bond Violation                                                                                   EXPEDITED RESOLUTION
                                                     Bindover Order
    Change of Plea                                ✔ Order Appointing Counsel
                                                                                                    Case appears appropriate for
    Sentencing                                       Other:                                         expedited resolution
    Other:

                   ADDITIONAL INFORMATION                                             SENTENCING
Attorney Helen C. Nieuwenhuis appeared on defendant's behalf for Imprisonment:
this hearing only.                                               Probation:
                                                                 Supervised Release:
Defendant requested additional time to prepare for hearings;
                                                                 Fine: $
request granted.
                                                                 Restitution: $
                                                                 Special Assessment: $
                                                                 Plea Agreement Accepted:             Yes    No
                                                                 Defendant informed of right to appeal:         Yes                No
                                                                 Counsel informed of obligation to file appeal:  Yes               No


                  CUSTODY/RELEASE STATUS                                                BOND AMOUNT AND TYPE

Remanded to USM                                                       $

CASE TO BE:           Set for Hearing before Mag. Judge              TYPE OF HEARING: ID/Preliminary/Detention Hearings

Reporter/Recorder:           Digitally Recorded                      Courtroom Deputy:              J. Norton
